P_ Case: 1:04-cV-O4035Document #: 1 Filed: 06/15/04 Pag’é\l of 4 Page|D #:2

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IN THE UNITED S_TATES DIS_TRICT COURT

   

FOR THE NoRTHERN DIS_TRICT 0F ILLINOIS
Gregory Walker, )
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) C€; 5 "'?
'vs' § §JUDGE AMY s"r. E‘ '§_i;_ “O; §
/‘\/" w'*’ 1
city of Chicago and Chicago Police ) . `?;) ">
ofncers Jenny C. Christoforakis, ) ':_"
#20218, Miguel Gonzalez, #20065 )
Robert Myers, #20428, Joseph Nega, ) (jury demand)
#20634, and S. VanWitzenburg, 1 ) ` l
#21011, § si¢'§ot`“:srnara suoc`§“iiiiksos\s
Defendams. COMpLA|N)T @Yi;ii?‘i"?§@
JUN 1 6 2004

Plaintiff, by counsel, alleges as follows:

1. This is_ a civil action arising under 42 U.S.C. '§‘1'983. The jurisdictionai§f
this Court is conferred by 28 U.S.C. §1343.

2. Plaintiff Gregory Walker is a resident of the Northern District of Illinois.
3. Defendant City of Chicago is an Illinois municipal corporation

4. Defendants Jenny C. Chriscoforai<is, #20218, Miguel Gonzalez, #20065
Robert Myers, #20428, Joseph Nega, #20634, and S. Va.nWitzenburg,
#21011, (hereinafter "defendant officers") Were at all times relevant acting

under color of their anthority as police officers of the City of Chicago.

5. On October 18, 2001, a man named Ornokeji Brown was shot and killed
in the City of Chicago. Thereafter, the defendant officers framed plaintiff

for Brown’s murder.

 

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6. In framing plaintiff, the defendant officers acted in accordance With a pol-
icy 0f the City of Chicago that authorized its police officers to detain

witnesses for interrogation

7. As a result of the frameup, plaintiff was arrested on February 25, 2002
and remained in custody until March of 2004 when he was released after

having been found not guilty on March 29, 2004.

8. As a result of the foregoing, plaintiff was deprived of rights secured by
the Fourth Amendment to the Constitution of the United States and sub-

jected to the Illinois tort of malicious prosecution
9. Plaintiff hereby demands trial by jury.

Wherefore plaintiff prays for damages in an amount in excess of live hun-

dred thousand dollars against defendants as compe tory damages.

   

 

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attorney for plaint§]j‘

 

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UNITED STATES DISTRICT _COURT
NORTHERN DISTRICT OF ILLINOIS

553 Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required

by law. This form is authorized for use only in the Northern District of Illinois.

Defendant(s):City of Chicago and Jenny C.
Christoforakis, #20218, Miguel Gonzalez, #20065

Plamtiff(g): Gregory Walker 7 Robert Myers, #20428, Joseph Nega, #20634,
and S. VanWitzenburg, #21011,
Coun of Residence: Cook Coun of Residence: _
ty ry JuocE AMY sr. EvE
Defendant's Atty: '

Plaintiff‘s Atty: Kenneth N. Flaxman

lKenneth N. Flaxman P.C.
200 s Michigan Ave.,sre 1240 040 4 0 3 5

(312) 427-3200

II. Basis of Jurisdiction: @deral Question (U.S. not a part§Q|AG§STR]-`TE JUDGE MASON

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III. Citizenshi of Princi al _,,._.. E;n
Parties (Diversity Cases Only) @@§?EZMK w ab 1 _
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Defendant:-N/A JU\\\ \
IV. Origin : 1. Original Proceeding § §§
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VII. Reguested in Complaint . § " ` :§: §
Class Action: No §§ 91 §§
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Dolla'r Demand: $500,000
Jury Demand: Yes

VIII. This case I§ N§ )T a refiling of a previously dismissed case.
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If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser and change it.

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Case: 1:O4-cV-O4035"Document #: 1 Filed: 06/15/04 Paga"ZF‘of 4 Page|D #:5

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

In the Matter of

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